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  The relief described hereinbelow is SO ORDERED.

  Signed August 14, 2019.


                                             __________________________________
                                                          Ronald B. King
                                               Chief United States Bankruptcy Judge
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